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                                          U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007

                                                       December 2, 2020

BY ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter in response to the defense requests for
sealing and for an in camera hearing in connection with the defendant’s anticipated renewed
application for bail. The Government has reviewed the proposed redactions to the defense letters
dated November 25, 2020 and November 30, 2020. Because those proposed redactions are
narrowly tailored to protect the privacy interests of third parties, the Government has no objection
to the defense’s proposed redactions. The Government objects, however, to the defense request
for a sealed in camera hearing to discuss further sealing requests from the defense. As
demonstrated by the defense’s recent letters, any request for sealing of third party information can
be made in writing with narrowly tailored redactions. Based on defense counsel’s proffers
regarding the potential harms that may come from publicly identifying proposed cosigners, the
Government has no objection to the redaction and sealed filing of any identifying information for
those individuals. Given the availability of redacted filings, the Government sees no reason for an
entire hearing to be conducted without the opportunity for the public or the victims in this case to
observe. Indeed, given that crime victims have a statutory right to be present and heard at any
proceeding regarding the defendant’s “release,” 18 U.S.C. § 3771(a)(4), the Government would
object to any proceeding addressing aspects of a renewed bail application that was conducted
entirely in camera.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney

                                              By:       s/
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Cc: All Counsel of Record (By ECF)
